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               EXHIBIT 18
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                                  SECRETARY OF DEFENSE
                                  1000 DEFENSE PENTAGON
                                 WASHINGTON , DC 20301-1000


                                                                              JAN 2 9 2025

 MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
                COMMANDERS OF THE COMBATANT COMMANDS
                DEFENSE AGENCY AND DOD FIELD ACT[VITY DrRECTORS

 SUBJECT: Restoring America's Fighting Force

         The Department of Defense (DoD) has an obligation to the American public to ensure
 their sons and daughters serve under the best leadership we can provide them. Doing so is a
 national security imperative. A foundational tenet of the DoD must always be that the most
 qualified individuals are placed in positions ofresponsibility in accordance with merit-based,
 color-blind policies.

         The DoD mission is to win the Nation's wars. To do this, we must have a lethal fighting
 force that rewards individual initiative, excellence, and hard work based on merit. In the
 Executive Order of January 27, 2025 (Restoring America's Fighting Force), the President and
 Commander in Chief prohibited any preference or disadvantage for an individual or a group
 within the Armed Forces on the basis of sex, race, or ethnicity.

        Diversity, equity, and inclusion (DEi) policies, as defined in the January 27, 2025,
 Executive Order, are incompatible with the values of DoD. The DoD will strive to provide
 merit-based, color-blind, equal opportunities to Service members but will not guarantee or strive
 for equal outcomes.

         To ensure DoD focuses on its core mission of providing the military forces needed to
 deter war and ensure our nation's security, the Department will ensure all decisions related to
 hiring, promotion, and selection of personnel for assignments are based on merit, the needs of the
 Department, and lastly, the individual' s desires.

         Restoring America's Fighting Force Task Force. To ensure compliance with the
 principles above, I direct the establishment of a multi-functional " Restoring America's Fighting
 Force" Task Force charged with overseeing the Department's efforts to abolish DEI offices and
 any vestiges of such offices that subvert meritocracy, perpetuate unconstitutional discrimination,
 and promote radical ideologies related to systemic racism and gender fluidity.

         The Under Secretary of Defense for Personnel and Readiness (USD(P&R)) will establish
 a Task Force to oversee the elimination of any program, element, or initiative that was established
 to promote divisive concepts as defined in Executive Order 13950 of September 22, 2020
 (Combating Race and Sex Stereotyping), or gender ideology as defined in Executive Order of
 January 20, 2025 (Defending Women from Gender Ideology Extremism and Restoring
 Biological Truth to the Federal Government). The Task Force will provide an initial report to
 the USD(P&R) of actions taken by DoD to terminate DEi initiatives by March I, 2025, and a
 final report no later than June I, 2025. The Task Force has the authority to task the Military




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 Departments and DoD Components for necessary information for the report and establish
 deadlines for compliance.

        Promotion and Selection Reform. The DoD will not consider sex, race, or ethnicity
 when considering individuals for promotion, command, or special duty. DoD Components and
 the Secretaries of Military Departments, may designate categories of assignment that require
 exceptions to this policy due to clear operational need.

         Elimination of Quotas, Objectives, and Goals. No DoD Component will establish sex-
 based, race-based, or ethnicity-based goals for organizational composition, academic admission,
 or career fields.

        Prohibition on Instruction on Critical Race Theory, Gender Ideology, and DEL No
 element within DoD will provide instruction on Critical Race Theory (CRT), DEi, or gender
 ideology as part of a curriculum or for purposes of workforce training.

       Instruction to Promote a Lethal Force. The U.S. Service Academies and other defense
 academic institutions shall teach that America and its founding documents remain the most
 powerful force for good in human history.

         Boards and Councils. All advisory boards, councils, and working groups will cease
 operations related to gender ideology, DEi, and CRT.

        The USD(P&R) will oversee the implementation of this memorandum, in coordination
 with the Secretaries of the Military Departments. The Department will continue to monitor the
 progress of these efforts through the Restoring America's Fighting Force Task Force.

         The strength of the DoD comes from our unity and our shared purpose. We will focus on
 lethality, meritocracy, accountability, standards, and readiness. Providing Service members an
 equal opportunity to excel will help us remain the strongest and most lethal fighting force the
 world has ever known.




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